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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

APB REALTY, INC.,
Plaintiff£/Defendant-in-
Counterclaim,

Vv. Civ. No. 21-11347-MLW
LEBANON AND BLUE MOUNTAIN
RATLWAY, LLC,
Defendant /Plaintiff-in-
Counterclaim

Vv.
KIRK BRYANT,

Defendant-in-
Counterclaim.

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MEMORANDUM & ORDER
WOLF, D.d. May 20, 2025

On December 19, 2024, defendant-in-counterclaim Kirk Bryant
was ordered to attend the initial pretrial conference scheduled
for January 23, 2025. See Dkt. No. 83, 3. The conference was
rescheduled and, on January 29, 2025, Bryant was ordered to appear
instead on February 14, 2024. See Dkt. Nos. 92, 93. Bryant did not
appear on February 14, 2025 as ordered. See February 14, 2025 Tr.
(Dkt. No. 103). At the February 14, 2025 hearing, the court
informed Bryant's attorney that the initiation of criminal
contempt proceedings might be necessary and appropriate. See id.
at 6-8.

On February 28, 2025, plaintiff-in-counterclaim Lebanon and

Blue Mountain Railway, LLC ("LBMR") filed a motion for sanctions,
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including default judgment, pursuant to F. R. Civ. P. 16(f) (1) and
37(b) (2), Dkt. Nos. 105, 106, which Bryant opposed, Dkt. No. 108.
However, rather than decide that motion, the court conducted a
bench trial on March 31, 2025. See Mar. 31, 2025 Tr. (Dkt. No.
131). On April 2, 2025, the court ruled that Bryant and APB Realty,
Inc. ("APB") had violated M.G.L. c. 93A, and found them jointly
and severally liable to pay LBMR $1,468,273.62. See Apr. 2, 2025
Tr. (Dkt. No. 132) at 5-17; Apr. 2, 2025 Mem. & Order (Dkt. No.
129), at 41.

The court then addressed LBMR's motion for default judgment
based on Bryant's failure to appear as ordered on February 14,
2025. See Apr. 2, 2025 Tr. at 17-23. The court found the motion
for default judgment moot because LBMR had prevailed at trial. See
id. at 18; Dkt. No. 129, 43.

Bryant's counsel acknowledged that there was "no just excuse"
for Bryant to have disobeyed the order to attend the February 14,
2025 hearing. See Apr. 2, 2025. Tr. at 18-19. Bryant declined to
testify concerning that issue. Id. Therefore, pursuant to Rule
16(£) (2), the court ordered Bryant to pay LBMR's attorney's fees
relating to his failure to appear in the amount of $14,360.00, by
May 2, 2025, and to file an affidavit certifying that he had done
so. See Dkt. No. 129, (3. The court stated that it was reserving

judgment on whether to initiate criminal contempt proceedings

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concerning Bryant's failure to appear on February 14, 2025, and
that it had not decided not to do so. See Apr. 2, 2025 Tr. at 21.

On May 7, 2025, LBMR filed a motion asking that Bryant be
held in civil contempt for his failure to pay the $14,360.00 as
ordered. The court is now also considering whether to initiate
criminal contempt proceedings against Bryant for failing to obey
the January 27, 2025 and January 29, 2025 Orders that he attend
the February 14, 2025 hearing (Dkt. Nos. 92, 93), and for failing
to obey the April 2, 2025 Order that he pay LBMR $14,360.00 by May
2, 2024.

Any individual who refuses obedience to a valid Order is
subject to both civil and criminal contempt for the same acts.

United States v. Petito, 621 F.2d 68, 72 (2d Cir. 1982) (citing

Yates v. United States, 355 U.S. 66, 73 (1957)). This is because

civil and criminal contempt serve different purposes. See United

States v. Marquardo, 149 F.3d 36, 39 (lst Cir. 1998). Sanctions

for civil contempt, including incarceration, are intended to
coerce compliance with an order of the court. Id. Criminal contempt
is used to punish disobedience of a judicial order. Id. Criminal
contempt seeks vindication of public rights by punishing a
defendant for a crime that has already been committed and to deter

future violations. See Yates, 355 U.S. at 75; Shillitani v. United

States, 384 U.S. 364, n.9 (1966).
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In view of the foregoing, it is hereby ORDERED, pursuant to
Local Rule 7.2(b) (2), that:

1. Bryant shall, by May 28, 2025, respond to LBMR's Motion
for an Order of [Civil] Contempt and Assessment of Attorney's Fees
and Costs (Dkt. No. 134) by filing any opposition, memorandum of
reasons, and affidavits as required by Local Rule 7.1(b) (2). If
Bryant asserts that he does not have the funds necessary to comply
with the April 2, 2025 Order, he shall file the evidence on which

he relies to support that contention. See United States v.

Rylander, 103 S. Ct. 1548, 1552 (1983); see also AngioDynamics,

Inc. v. Biolitec AG, 780 F.3d 420, 427 (1st Cir. 2015); United

States v. Puerto Rico, 642 F.3d 103, 108 n.8 (lst Cir. 2011); In

re Power Recovery Systems, Inc., 950 F.2d 798, 804 (lst Cir. 1991);

Combs v. Ryan's Coal Co., Inec., 785 F.2d 970, 975 (11th Cir. 1986).

APB shall, by June 4, 2025, file any reply.

2. Bryant shall also, by May 27, 2025, file a memorandum and
affidavit(s) seeking to show cause why the court should not
initiate criminal contempt proceedings for his failures to obey
the January 27, 2025 Order (Dkt. No. 92) and the January 29, 2025
Order (Dkt. No. 93) to attend the February 14, 2025 hearing and/or

the April 2, 2025 Order to pay LBMR $14,360.00 by May 2, 2025.

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UNITED STATES DISTRICT a

